70 F.3d 111
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Darrow Kierov ERLIN, Petitioner-Appellant,v.Dennis R. BIDWELL, Warden;  United States Parole Commission,Respondents-Appellees.
    No. 95-6430.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 7, 1995.Decided Nov. 17, 1995.
    
      Darrow Kierov Erlin, Appellant Pro Se.  Daniel W. Dickinson, Jr., OFFICE OF THE UNITED STATES ATTORNEY, Wheeling, West Virginia, for Appellees.
      Before MURNAGHAN, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 28 U.S.C. Sec. 2241 (1988) petition.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Erlin v. Bidwell, No. CA-94-42-2 (N.D.W.Va. March 15, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    